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12   ALPHABET INC.

13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
16

17   IN RE; SOCIAL MEDIA ADOLESCENT                   CASE NO.: 4:22-md-03047-YGR
     ADDITION/PERSONAL INJURY PRODUCTS
18                                                    MDL No. 3047
     LIABILITY LITIGATION
19                                                    DEFENDANT YOUTUBE, LLC,
                                                      GOOGLE LLC, AND ALPHABET
20                                                    INC.’S CERTIFICATE OF
                                                      INTERESTED ENTITIES
21

22   This Document Relates to:
23   ALL CASES
24

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     YOUTUBE, LLC, GOOGLE LLC, AND ALPHABET
     INC.’S CERTIFICATE OF INTERESTED ENTITIES
        Case 4:22-md-03047-YGR Document 56 Filed 11/01/22 Page 2 of 2



 1           Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,

 2   associations of persons, firms, partnerships, corporations (including parent corporations) or other

 3   entities (i) have a financial interest in the subject matter in controversy or in a party to the

 4   proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could be

 5   substantially affected by the outcome of this proceeding:

 6           1.      Google LLC

 7           2.      XXVI Holdings Inc., Holding Company of Google LLC

 8           3.      Alphabet Inc., Holding Company of XXVI Holdings Inc.

 9

10   Dated: November 1, 2022                            WILSON SONSINI GOODRICH & ROSATI
                                                         Professional Corporation
11

12                                                       By /s/      Lauren Gallo White
13                                                                   Lauren Gallo White

14                                                         Attorney for Defendants
                                                           YOUTUBE, LLC, GOOGLE LLC, AND
15                                                         ALPHABET INC.

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     YOUTUBE, LLC, GOOGLE LLC, AND ALPHABET              -1-
     INC.’S CERTIFICATE OF INTERESTED ENTITIES
